          Case 5:16-cr-00104-JGB Document 54 Filed 11/02/21 Page 1 of 3 Page ID #:330



 1 ',
2 '~
 3                                                                        Nod ,~2~2~ ~ ~
4
                                                                                     PUF"aNr~~
                                                                                 rt OF'
                                                                                      C OEp%
5

                                                                     6Y
6
7
8
                    IN THE UNITED STATES DISTRICT COURT
9
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
12                                                Case No. 5:16-CR-00104-JGB
         UNITED STATES OF AMERICA,
13                                                ORDER OF DETENTION
                        Plaintiff,
14                                               [Fed. R. Crim. P. 32.1(a)(6);
                        v.                        18 U.S.C. § 3143(a)(1)]
15
         MARIA JOANNA VALLADARES,
16
                         Defendant.
17
18
19
20                                               I.
21            On November 2, 2021, Defendant Maria Joanna Valladares ("Defendant")
22      appeared before the Court for initial appearance on the petition and warrant for
23      revocation of supervised release issued in this matter, Case No. 5:16-CR-00104-
24      JGB. The Court appointed David Reed of the CJA Panel as counsel for Defendant.
25      Appearing on behalf of Mr. Reed for this day's appearance was John Hanusz, also
26      of the CJA Panel.
27      ///
28      ///
      Case 5:16-cr-00104-JGB Document 54 Filed 11/02/21 Page 2 of 3 Page ID #:331



 1                                                 II.
2          Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C.
 3   § 3143(a)following Defendant's arrest for alleged violations) of the terms of
4    Defendant's ❑probation / ~ supervised release, the Court finds that:
 5         A.      ~     Defendant submitted to the Government's Request for
6    Detention;

7
 g         B.      ~     Defendant has not carried his burden of establishing by clear
 g   and convincing evidence that Defendant will appear for further proceedings as

10   required if released [18 U.S.C. § 3142(b-c)]. This finding is based on:

11         • Nature of the instant allegations;
12         • Lack of information about the Defendant's background;
13         • Lack of verified information about Defendant;
14         • Substance use history;
15         • Unknown mental health history;
16         • Prior failures to appear;
1~         • Prior probation and supervised release violations and revocations;
1g         • Use of false identifiers.

19
20         C.      ~     Defendant has not carried his burden of establishing by clear

21   and convincing evidence that Defendant will not endanger the safety of any other

22   person or the community if released [18 U.S.C. § 3142(b-c)]. This finding is based

23   on:
24         • Nature of the instant allegations;

25         • Unknown mental health history;
26         • Prior arrests and convictions for offenses involving drugs;
2~         • Prior probation and supervised release violations and revocations;
28              Substance use history.

                                               2
      Case 5:16-cr-00104-JGB Document 54 Filed 11/02/21 Page 3 of 3 Page ID #:332



 1                                       III.

2         IT IS THEREFORE ORDERED that Defendant be detained pending further

 3   proceedings.

4
5    Dated: November 2, 2021
6
                                                /s/
7                                          MARIA A. AUDERO
                                       UNITED STATES MAGISTRATE JUDGE
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          3
